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The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
L’autorité soussignée a I’honneur d'attester conformément a l'article 6 de ladite Convention,

—x] 1.that the document has been served*
que la demande a été exécutée*

— the (date) / le (date): | Friday, 29th November, 2019 at 11:38 a.m.

TME (BVI) Ltd., Palm Grove House, P.O. Box 438,
Road Town, Tortola, BVI

— at (place, street, number): |
a (localité, rue, numéro) :

— in one of the following methods authorised by Article 5:
dans une des formes suivantes prévues a l'article 5 : i
f | a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
Article 5 of the Convention*
selon les formes légales (article 5, alinéa premier, lettre a)*

( | 6) in accordance with the following particular method”:
selon la forme particuliére suivante" :

1 | ¢) by delivery to the addressee, if he accepts it voluntarily*
par remise simple*

The documents referred to in the request have been delivered to:
Les documents mentionnés dans la demande ont été remis a :

‘Identity and description of person: Desiree Mercer, Manager
Identité et qualité de la personne :
Relationship to the addressee (family, TMF (BVI) Ltd., Registered Agent for Lembex Global
business or other): Investments Ltd.

Liens de parenté, de subordination ou autres, avec le
destinataire de l'acte :

([] 2.that the document has not been served, by reason of the following facts*:
que la demande n’a pas été exécutée, en raison des faits suivants*:

(] In conformity with the second paragraph of Article 12 of the Convention, the applicant is
requested to pay or reimburse the expenses detailed in the attached statement*.
Conformément a l'article 12, alinéa 2, de ladite Convention, le requérant est prié de payer ou de rembourser les frais
dont le détail figure au mémoire ci-joint*.

Annexes / Annexes
Documents returned: i Cert Vol. 130/6490 a Senora
Piéces renvoyées : Documents requested to be served

In appropriate cases, documents establishing

the service:

Le cas échéant, les documents justificatifs de
l'exécution :

* if appropriate / s'il y a lieu

Done at/ Fait a Registrar's Office, Road Town,
Tortola, BVI

The /le 2nd December, 2020

Permanent Bureau September 2011
